      Case 2:15-cr-00190-KJM Document 386 Filed 06/14/18 Page 1 of 2


1

2

3

4                             UNITED STATES DISTRICT COURT

5                          EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,               No.   2:15-cr-00190-GEB
8                     Plaintiff,             SEALING ORDER
9        v.
10   LARRY TODT,
11                    Defendant.
12

13

14               On    June   13,   2018,   chambers   was   emailed   a   Forensic

15   Evaluation dated June 7, 2018 from the Warden of the Federal

16   Bureau of Prisons Metropolitan Detention Center in Los Angeles,

17   California which this order is filing under seal.                 The Clerk’s

18   Office shall describe it in the docket text as “Sealed Forensic

19   Evaluation of Defendant Larry Todt” and the forensic evaluation

20   shall only be served on the United States Attorney and Mr. Todt’s

21   attorney.    A portion of the Forensic Evaluation states:

22                    Based on the information available,
                 there was no objective information or
23               evidence to indicate that Mr. Todt currently
                 suffers from signs or symptoms of a major
24               mental disorder . . . or an organic disorder,
                 that would impair his present ability to
25               understand the nature and consequences of the
                 court proceedings against him, or his ability
26               to properly assist counsel in his defense, or
                 to represent himself.
27
                        . . . .
28
                                            1
      Case 2:15-cr-00190-KJM Document 386 Filed 06/14/18 Page 2 of 2


1
                    On the surface, the defendant's
2              statements and demeanor appear odd and raise
               the question about the presence of an
3              underlying thought disorder or delusional
               belief system. However, information obtained
4              for review suggests his writing and
               statements are consistent with several anti-
5              government organizations that provide the
               documentation utilized by Mr. Todt, in
6              addition to instructions regarding how to
               behave verbally. When interpreted within
7              this context, the defendant's behaviors
               appear goal-directed and motivated by a
8              desired outcome, rather than attributed to
               the presence of a major mental disorder. Mr.
9              Todt appears to have consciously decided to
               not participate in the forensic evaluation,
10             and thus it could be inferred, that his lack
               of cooperation is purposeful and not linked
11             to the presence of persecutory or paranoid
               beliefs rooted in a major mental illness.
12
                    From the available information, there is
13             evidence to suggest that Mr. Todt is able to
               ascertain reality, realistically appraise his
14             behavior, and converse in a logical and
               coherent manner, all of which would be
15             necessary, to some extent, to represent
               himself or to properly assist counsel in a
16             defense. Given his presentation during the
               evaluation,   Mr.  Todt   will   most  likely
17             continue to engage in the behavior to avoid
               sentencing.   The behavior is volitional and
18             goal directed and not derived from an
               underlying mental disorder, but may be
19             disruptive to the Court proceedings.
20   Forensic Evaluation of Larry Todt.
21   Dated:   June 13, 2018

22

23

24

25

26
27

28
                                         2
